                    Oral Argument Scheduled for March 21, 2025

                        NO. 24-1151 and consolidated cases

                    UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT

            __________________________________________________

UNITED STEEL, PAPER AND FORESTRY, RUBBER, MANUFACTURING,
     ENERGY, ALLIED INDUSTRIAL AND SERVICE WORKERS
               INTERNATIONAL UNION, AFL-CIO,

                                      Petitioner,

                                          v.

              U.S. ENVIRONMENTAL PROTECTION AGENCY,

                                     Respondent.

  LABOR PETITIONERS’ OPPOSITION TO MOTION TO RESCHEDULE
                      ORAL ARGUMENT


      Petitioners United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,

Allied Industrial and Service Workers International Union, AFL-CIO (“USW”),

International Association of Machinists and Aerospace Workers, AFL-CIO (“IAM”),

and Worksafe (collectively, “Labor Petitioners”) strongly object to the motion filed

by Olin Corporation, an intervenor in these proceedings, to reschedule oral argument

in the above captioned cases, for four reasons.

      First, based on this Court’s scheduling order, both attorneys representing Labor

Petitioners have scheduled non-refundable vacations beginning on March 24 and
continuing through April 11, 2025. Rescheduling the argument has the potential to

conflict with and interrupt these plans.

      Second, contrary to the Olin’s claim, rescheduling the argument date will

jeopardize progress on pending risk evaluations. The petitions at issue here question

whether EPA’s rule, “Procedures for Chemical Risk Evaluation Under the Toxic

Substances Control Act (TSCA),” 89 Fed. Reg. 37028 (May 3, 2024) (“Revised

Framework Rule”), is valid. This rule governs the policies EPA relies upon when

completing risk evaluations of toxic chemicals. TSCA requires that EPA complete

these evaluations with opportunities for public comment and all on tight time frames.

15 U.S.C. § 2605(b)(4)(G) (setting deadlines for risk evaluation). EPA currently has

twenty chemicals undergoing risk evaluation and another five prioritized to enter the

process. See Ongoing and Completed Chemical Risk Evaluations under TSCA | US

EPA. Any delay in resolving these petitions will likely result in delay in completing

these ongoing risk evaluations because the policies governing risk evaluation will

remain in limbo.

      Third, Olin is an intervenor in the case. Pursuant to Local Rule 34(d), absent

an order from this Court, Olin will only be permitted to argue to the extent the

Industry Petitioners are willing to share their allotted time. Olin states that

“Petitioners” are amenable to its intent to request time to participate in the argument.

The Labor Petitioners are not amenable to such a request, if Olin’s intent is to ask the

Court for time in addition to that allocated to the Industry Petitioners. Since the extent
to which Olin may participate in the oral argument is uncertain, it would be

premature to postpone the oral argument to accommodate its counsel’s schedule.

      Finally, the Court should ignore Olin’s speculation about whether some future

action by the new Administration will change the posture of this case. Olin does not

speak for EPA; the Department of Justice does.

                                 Respectfully submitted,

                                 /s/Randy S. Rabinowitz
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Dated:      February 3, 2025
                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) because this opposition uses a monospaced

typeface and contains 627 words.

      This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in 14-point typeface using

Time New Roman font.



 Dated: February 3, 2025
          Washington, D.C.
                                          _/s/ Randy S. Rabinowitz
                                          Attorney for Labor Petitioners
                          CERTIFICATE OF SERVICE

      I hereby certify that I e-filed the foregoing with the Clerk of the Court for the

United States Court of Appeals for the D.C. Circuit by using the appellate CM/ECF

system on January 31, 2025.

      Participants in the case who are registered CM/ECF users will be served by

the appellate CM/ECF system.


 Dated: January 31, 2025
         Washington, D.C.
                                            _s/ Randy S. Rabinowitz
                                            Attorney for Labor Petitioners
